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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

    SHAWN MOORE,

           Plaintiff,
                                               Civil Action No. 2:21-mc-51207-NGE-EAS
    v.

    ALLIANCEONE RECEIVABLES
    MANAGEMENT, INC.,

           Defendant.

                           JOINT STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED, by and between the parties

to this action, Movant RevSpring, Inc. and Plaintiff/Respondent Shawn Moore,1 that

this action shall be dismissed without prejudice pursuant to Rule 41(a)(1)(A)(ii) of

the Federal Rules of Civil Procedure, each party to bear its own costs and fees. The

Clerk is asked to make this entry on the above docket.

DATED: December 17, 2021                            Respectfully submitted,

    /s/ Jennifer K. Green                         /s/ Aaron Radbil (w/consent)
    Jennifer K. Green (P69019)                    Aaron Radbil
    Clark Hill PLC                                Greenwald Davidson Radbil PLLC
    151 S. Old Woodward Ave., Ste. 200            401 Congress Ave., Ste. 1540
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    Attorney for RevSpring, Inc.                  Attorney for Plaintiff
1
 Defendant in the underlying action, AllianceOne Receivables Management, Inc., has not
appeared in this action.



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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 17, 2021, I electronically filed the foregoing

Joint Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to counsel of record.

        I declare the above statement is true to the best of my knowledge, information

and belief.


                                               Respectfully submitted,

                                               /s/ Jennifer K. Green
                                               Jennifer K. Green (P69019)




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